                                     1:18-cv-01374-EIL # 40       Page 1 of 1
                                                                                                           E-FILED
Judgment in a Civil Case (02/11)                                              Friday, 23 October, 2020 01:24:49 PM
                                                                                       Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                    for the
                                           Central District of Illinois

Darrell Radson                                      )
                                                    )
                    Plaintiff,                      )
                                                    )
                               vs.                  )        Case Number: 18-CV-1374
                                                    )
Bradley University                                  )
                                                    )
                    Defendant.                      )

                                        JUDGMENT IN A CIVIL CASE

  ☒ JURY VERDICT. This action came before the Court for a trial by jury.                    The issues
have been tried and the jury has rendered its verdict.


      IT IS ORDERED AND ADJUDGED that Plaintiff Darrell Radson recover from
Defendant Bradley University $40,000.00 in punitive damages on his claim of discrimination on
the basis of national origin.

Dated:        10/23/2020

                                                             s/ Shig Yasunaga
Approved: 10/23/2020
                                                             Shig Yasunaga
                                                             Clerk, U.S. District Court
